Case 1:21-cr-00353-JDB Documenté6 Filed 05/12/21 Page 1 of 4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-369
NICHOLAS LANGUERAND, : VIOLATIONS:
: 18U.8.C. § 231(a)G)
Defendant. : (Civil Disorder)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2))

(Act of Physical Violence in the Capitol
Grounds or Buildings)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, NICHOLAS

LANGUERAND, committed and attempted to commit an act to obstruct, impede, and interfere
Case 1:21-cr-00353-JDB Documenté6 Filed 05/12/21 Page 2 of 4

with a law enforcement officer, lawfully engaged in the lawful performance of his/her official
duties incident to and during the commission of a civil disorder, and the civil disorder obstructed,
delayed, and adversely affected the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, NICHOLAS
LANGUERAND, using a deadly or dangerous weapon, that is, stick-like objects and a traffic
barrier, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), while such officer or employee was engaged in or on account
of the performance of official duties, and where the acts in violation of this section involve physical
contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, NICHOLAS
LANGUERAND, did unlawfully and knowingly enter and remain in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President and Vice President-elect were temporarily
visiting, without lawful authority to do so, and, during and in relation to the offense, did use and
carry a deadly and dangerous weapon, that is, stick-like objects and a traffic barrier.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)C1)(A))
Case 1:21-cr-00353-JDB Documenté6 Filed 05/12/21 Page 3 of 4

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, NICHOLAS
LANGUERAND, did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
and Vice President-elect were temporarily visiting, when and so that such conduct did in fact
impede and disrupt the orderly conduct of Government business and official functions and, during
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, stick-like
objects and a traffic barrier.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))

COUNT FIVE

On or about January 6, 2021, within ‘the District of Columbia, NICHOLAS
LANGUERAND, did knowingly, engage in any act of physical violence against any person and
property in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President and Vice
President-elect were temporarily visiting and, during and in relation to the offense, did use and
carry a deadly and dangerous weapon, that is, stick-like objects and a traffic barrier.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b)C)(A))
Case 1:21-cr-00353-JDB Documenté6 Filed 05/12/21 Page 4 of 4

COUNT SIX
On or about January 6, 2021, within the District of Columbia, NICHOLAS
LANGUERAND, willfully and knowingly engaged in disorderly and disruptive conduct within
the United States Capitol Grounds and in any of the Capitol Buildings with the intent to impede,
disrupt, and disturb the orderly conduct of a session of Congress and either House of Congress,
and the orderly conduct in that building of a hearing before or any deliberation of, a committee of
Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, NICHOLAS
LANGUERAND, willfully and knowingly engaged in an act of physical violence within the
United States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

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Attorney of the United States in
and for the District of Columbia.
